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FOR THE WESTERN DISTRICT OF TENNESSE 4
EASTERN DIVISION '

WAZIR MUJAHID EL-AMIN,

Plaintit`f,

VS.

CORRECTIONS CORPORATION OF

AMER]CA, ET AL.,

Defendants.

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NO. OZ-IZIO-T

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ORDER GRANTING PLAINTIFF’S MOTION TO REINSTATE RLUIPA CLAIM

 

At the time he Commenced this action on August 12, 2002, plaintiff WaZir Mujahid

El-Amin, Wisconsin Depai'tment ot`Corrections prisoner number 219597, was an inmate at

the Whiteville Correctional Faeility (“WCF”) in Whiteville, Tennessee. Plaintift"s

complaint was filed pursuant to 42 U.S.C. § 1983 and the Religious Land USe and

lnstitutionalized Persons Aet of 2000 (“RLUIPA”), 42 U.S.C. § 200000 etseq. On January

9, 2004, the Court issued an order that, inter alia, dismissed the claim pursuant to the

RLUIPA sua sponte in light ofCutter v. Wilkinson, 349 F.3d 257 (6th Cir. 2003), in Which

the Sixth Circuit held that the RLUIPA Violated the Establishment Clause of the First

Am en dment.

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with Rule 58 and.'or‘79 (a) FRCP on

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The Sixth Circuit’s decision in C_uttg Was subsequently reversed by the Supreme
Court. Cutter v. Wilkinson, 125 S. Ct. 2113 (2005). Accordingly, the plaintiff filed a
motion on June 23, 2005 seeking reinstatement of his RLUIPA claim. Defendants filed a
response in opposition to the motion on July 8, 2005.

The defendants’ arguments in opposition to reinstatement of the claim seem to consist
largely of attacks on positions the plaintiff does not even take. The plaintiff’ s motion does
not appear to seek reconsideration of any part of the J anuary 9, 2004 order except for the sua
sponte dismissal of the RLUIPA claim.l

Defendants also contend that the plaintiffs motion should be denied because he has
no claim under the RLUIPA as a matter of laW. 1n support of that position, defendants rely
on an affidavit submitted in support of their motion for summary judgment attesting to the
fact that the restrictions imposed by the WCF serve a legitimate penological interest
However, the Court denied the defendants’ motion for summary judgment on the claims
pursuant to 42 U.S.C. § 1983 in an order issued on November 4, 2004. In so holding, the
Court observed that the defendants have failed to articulate any reason why the restrictions
set forth in the I.M.P. serve the penological interests of safety and security. (1 1/4/04 Order
at 13-14.) Because the defendants Were not entitled to summary judgment on the § 1933

claims, it necessarily suggests that the claims under the RLUIPA are not subject to dismissal

 

l To the extent plaintifF s motion can be read to seek reconsideration of the decision denying the motion

of another inmate to intervene in this action, plaintiffs motion is DENIED. The inmate in question was never
incarcerated at the WCF or in this district, so he has no claim against the defendantsl Moreover, the inmate is not an
attorney and is not entitled to act as one by representing another prisoner.

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on the basis of arguments previously rejected by the Court.2
For all the foregoing reasons, the Court GRANTS the plaintiff s motion to reinstate

the RLUIPA claim.
»‘;"
lT IS SO ORDERED this % day ofAugust, 2005.

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JAi\/I D. TODD
UNI D STATES DISTRICT JUDGE

 

' lt is inappropriate to consider, in connection with the present motion, whether the defendants would be
entitled to judgment as a matter of law if a properly supported motion for summary judgment were tiled. No such
motion for summary judgment is before the Court. The Court dismissed the RLUIPA claim, sua sponte, as a matter
of law. Since that order was issued, the law with respect to this claim has materially changed The defendants may
not use a hypothetical summary judgment motion as an obstacle to reinstatement of the RLUIPA claim.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 68 in
case 1:02-CV-01210 was distributed by faX, mail, or direct printing on
August 31, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

